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                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California
                                      CIVIL MINUTES

 Date: January 26, 2023            Time: 1:35-2:35                Judge: EDWARD M. CHEN
                                         60 Minutes

 Case No.: 20-cv-06761-EMC         Case Name: State of California v. Bureau of Alcohol,
                                   Tobacco, Firearms, and Explosive

Attorneys for Plaintiffs: Lee Crain, Liesel Schapira, Clint Woods, Matthew Wise, Scot
Edelmam
Attorneys for Defendants: Jeremy Newman Cody Wisniewski (Intervenor), Germain Labat
(Intervenor), Erin Erhardt (Intervenor)

 Deputy Clerk: Vicky Ayala                            Digital Reporter: Zoom Recording

                                       PROCEEDINGS

Motion to Dismiss/ Lack of Jurisdiction - held

                                         SUMMARY

Parties stated appearances.

Oral argument presented. Matter taken under submission. Court to issue order.
